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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
UNITED STATES OF AMERICA                                       :
                                                               :
                  -v.-                                         :     S4 23 Cr. 490 (SHS)
                                                               :
ROBERT MENENDEZ,                                               :
NADINE MENENDEZ,                                               :
         a/k/a “Nadine Arslanian,”                             :
WAEL HANA,                                                     :
         a/k/a “Will Hana,” and                                :
FRED DAIBES,                                                   :
                                                               :
                                    Defendants.                :
                                                               :
---------------------------------------------------------------x



 THE GOVERNMENT’S OMNIBUS MEMORANDUM OF LAW IN OPPOSITION TO
              THE DEFENDANTS’ MOTIONS IN LIMINE




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       The Government respectfully submits this omnibus memorandum of law in opposition to

the motions in limine of defendants Robert Menendez (“Menendez”), Nadine Menendez (“Nadine

Menendez”), and Wael Hana. (Dkts. 284, 289, 290, 292, 293.)1 For the reasons set forth below,

the defendants’ motions should be denied.

                               PRELIMINARY STATEMENT

       All or nearly all of the defendants’ arguments fail because what weight to give to evidence,

and what inferences to draw from evidence, is for the jury. See, e.g., Goldsby v. United States,

160 U.S. 70, 76-77 (1895) (“the weight to be attached to the proof was a matter for the jury”).

Labeling an inference “speculative” (Dkt. 290 at 1, 2, 3, 6, 7, 8, 9) does not change this

fundamental rule or entitle a defendant to avoid the jury’s consideration of competing inferences.

See, e.g., United States v. Mundy, 539 F.3d 154, 157 (2d Cir. 2008) (“what conclusions should, or

should not, be drawn from” evidence is for the jury); United States v. Schultz, 333 F.3d 393, 416

(2d Cir. 2003) (“[F]actors which make evidence less than conclusive affect only weight, not

admissibility.”). To the extent their arguments are not defeated by this principle alone, they are

otherwise meritless for the reasons explained below. The defendants’ motions in limine should be

denied in their entirety.

                                     APPLICABLE LAW

  I.   Federal Rules of Evidence 401, 402, and 403

       Under Federal Rule of Evidence 401, evidence is “relevant” if it “has any tendency to make

a fact more or less probable than it would be without the evidence,” so long as “the fact is of

consequence in determining the action.” Fed. R. Evid. 401 (emphasis added). “The fact to which

the evidence is directed need not be in dispute.” Old Chief v. United States, 519 U.S. 172, 179


1 Defendant Fred Daibes did not file any motions in limine.
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(1997) (quoting Fed. R. Evid. 401 advisory committee’s note); see also Fed. R. Evid. 401 advisory

committee’s note (“Evidence which is essentially background in nature can scarcely be said to

involve disputed matter, yet it is universally offered and admitted as an aid to understanding. . . .

A rule limiting admissibility to evidence directed to a controversial point would invite the

exclusion of this helpful evidence, or at least the raising of endless questions over its admission.”).

To be relevant, evidence need not constitute conclusive proof of a fact in issue, but only have “any

tendency to make the existence of any fact that is of consequence to the determination of the action

more probable or less probable than it would be without the evidence.” McKoy v. North Carolina,

494 U.S. 433, 440 (1990) (internal quotation marks and citation omitted).

       Federal Rule of Evidence 402, in turn, provides that “relevant evidence is admissible,”

unless the Constitution, a federal statute, the Federal Rules of Evidence, or other rules prescribed

by the Supreme Court provide otherwise. This is a very low standard. See, e.g., United States v.

Quattrone, 441 F.3d 153, 188 (2d Cir. 2006) (“so long as a chain of inferences leads the trier of

fact to conclude that the proffered submission affects the mix of material information, the evidence

cannot be excluded at the threshold relevance inquiry” (citing United States v. Ravich, 421 F.2d

1196, 1204 n.10 (2d Cir. 1970) (Friendly, J.))).

       Otherwise admissible evidence is subject to preclusion under Federal Rule of Evidence 403

only if its probative value is “substantially outweighed” by the danger of, among other things,

unfair prejudice or misleading or confusing the jury. Fed. R. Evid. 403. Evidence is not

excludable, however, simply because it is “prejudicial.” As the Second Circuit has explained:

               To be sure, all evidence incriminating a defendant is, in one sense
               of the term, “prejudicial” to him: that is, it does harm to him. In that
               sense, the more pertinent evidence is, the more prejudicial it is.
               What “prejudice” as used in Rule 403 means is that the admission


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               is, as the rule itself literally requires, “unfair” rather than “harmful.”

United States v. Jimenez, 789 F.2d 167, 171 (2d Cir. 1986); see also, e.g., Oregon v. Kennedy, 456

U.S. 667, 674 (1982) (“Every act on the part of a rational prosecutor during a trial is designed to

‘prejudice’ the defendant by placing before the judge or jury evidence leading to a finding of his

guilt”); United States v. Vargas, 702 F. Supp. 70, 72-73 (S.D.N.Y. 1988) (the fact “that evidence

may be ‘damning’ does not render it inadmissible.” (citing United States v. Cirillo, 468 F.2d 1233,

1240 (2d Cir. 1972))).

       In short, “[b]ecause virtually all evidence is prejudicial to one party or another, to justify

exclusion under Rule 403 the prejudice must be unfair.” Costantino v. Herzog, 203 F.3d 164, 174

(2d Cir. 2000) (emphasis in original). Accordingly, to warrant exclusion of evidence as on this

ground, a defendant must be able to identify “‘some adverse effect . . . beyond tending to prove

the fact or issue that justified its admission into evidence.”’ United States v. Gelzer, 50 F.3d 1133,

1139 (2d Cir. 1995) (quoting United States v. Figueroa, 618 F.2d 934, 943 (2d Cir. 1980)); United

States v. Gilliam, 994 F.2d 97, 100 (2d Cir. 1993) (same).

 II.   Federal Rule of Evidence 404(b)

       Rule 404(b) allows for the admission of uncharged crimes, wrongs, or other acts for

purposes other than proving criminal propensity, “such as proving motive, opportunity, intent,

preparation, plan, knowledge, identity, absence of mistake, or lack of accident.” Fed. R. Evid.

404(b). The Second Circuit “has long adopted an ‘inclusionary’ approach to the admission of

uncharged crime evidence, under which evidence of prior crimes, wrongs, or acts is admissible for

any purpose other than to show a defendant’s criminal propensity.” United States v. Paulino, 445

F.3d 211, 221 (2d Cir. 2006) (internal quotation marks omitted). Applying this approach, the

Second Circuit has routinely approved of the admission of “other acts” evidence with respect to

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the issues of knowledge, intent, and/or motive. See, e.g., United States v. Thomas, 54 F.3d 73, 81-

82 (2d Cir. 1995); United States v. Meyerson, 18 F.3d 153, 166-67 (2d Cir. 1994). Where the

defendant claims his or her conduct has an innocent explanation, the admission of such evidence

of prior acts is particularly appropriate. See, e.g., United States v. Zackson, 12 F.3d 1178, 1182

(2d Cir. 1993) (“Where a defendant claims that his conduct has an innocent explanation, prior act

evidence is generally admissible to prove that the defendant acted with the state of mind necessary

to commit the offense charged.”).

       A defendant’s knowledge and intent are in issue unless the defendant has unequivocally

conceded that element of the offenses with which he or she is charged. See, e.g., United States v.

Colon, 880 F.2d 650, 656-57 (2d Cir. 1989); see also United States v. Ramirez, 894 F.2d 565, 568

(2d Cir. 1990) (when the defendant “disavows awareness that a crime was being perpetrated” and

the Government bears the burden of proving knowledge “as an element of the crime, knowledge

is properly put in issue”).

       The Court has broad latitude in determining whether to admit evidence pursuant to

Rule 404(b). United States v. Brady, 26 F.3d 282, 286 (2d Cir. 1994). Where evidence is offered

for a proper purpose under Rule 404(b), it may only be excluded if the probative value of the

evidence is “substantially outweighed” by the danger of unfair prejudice. Zackson, 12 F.3d

at 1182. While any evidence, including evidence offered pursuant to Rule 404(b), is subject to the

balancing test set forth in Rule 403, “other act” evidence that is neither “more sensational [n]or

disturbing” than the charged crimes will not be deemed unfairly prejudicial. United States v.

Roldan-Zapata, 916 F.2d 795, 804 (2d Cir. 1990); see also United States v. Williams, 205 F.3d 23,

33-34 (2d Cir. 2000); United States v. Paulino, 445 F.3d at 223. Moreover, evidence properly



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admissible under Rule 404(b) is not unduly prejudicial so long as the court gives a limiting

instruction to the jury explaining the purpose for the evidence. See United States v. Pipola, 83

F.3d 556, 566 (2d Cir. 1996); United States v. Rosa, 11 F.3d 315, 333-34 (2d Cir. 1993).

                                         ARGUMENT

  I.      Menendez’s and Hana’s Motions to Preclude Evidence Should Be Rejected

          Menendez and Hana each seek to prevent the jury from learning about plainly relevant

evidence, including large amounts of cash, luxury watches offered to Menendez during the charged

scheme, concealment of the bribes, and the rewards reaped by those who paid Menendez bribes,

as well as other direct evidence of the crimes charged in the Indictment. The Court should decline

the defendants’ invitation to sit as trier of fact and weigh the inferences to be drawn from this

evidence.

       A. Cash Found in Menendez’s House is Admissible

          During the June 2022 search of Menendez’s and Nadine Menendez’s home in New Jersey,

large amounts of valuable items were seized, including two one-kilogram gold bars, eleven one-

ounce gold bars, and approximately $485,000 in cash stashed throughout the house. All of the

gold bars and much of the cash were found in a bedroom closet, and over $200,000 of the cash

was found in such locations as a duffel bag in an office, a bag on a shelf above a coat rack in the

basement, in the pockets of men’s jackets hanging on the coat rack, and stuffed into footwear under

jackets. In addition, more than $70,000 in cash was found in the search of a safe deposit box

maintained by Nadine Menendez the same day. The Government expects to prove at trial that all

of the gold bars are linked by serial number and refiner information to either Daibes (who provided

both of the one-kilogram bars and nine of the eleven one-ounce bars) or to Hana (who provided



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the other two one-ounce bars). 2 The Government expects to prove at trial that at least ten of the

envelopes of cash, containing over $80,000, had Daibes’s fingerprints or DNA either on the

envelopes themselves or on tape affixed to the envelopes.

       Menendez acknowledges the relevance of such items to the extent they originated from

Daibes, and does not seek preclusion of such evidence. (See, e.g., Dkt. No. 290 at 3 (“Senator

Menendez does not here seek to preclude the government from presenting items of value

purportedly bearing Fred Daibes’ fingerprints . . . or seized gold bars that the government alleges

originated from Daibes”).) However, he claims that “other than a single envelope with some cash

in it that purportedly bears Daibes’s fingerprint, there is no evidence linking any of the other cash,

jewelry, or valuables seized from the Senator’s home to any alleged co-conspirator” (id.), and that

all evidence of such items must therefore be precluded.3 That is wrong both factually and legally.

Menendez is not entitled for the jury to be presented with an artificially constricted view of reality

that he appears to believe favors him.

       First, it was not a “single envelope with some cash” but at least ten envelopes containing

over $80,000 in cash seized from the Menendezes’ home and safe deposit box on which Daibes’s

fingerprints and/or DNA have been identified. (See Indictment ¶ 65 (“The search also revealed

that the residence contained, among other things, hundreds of thousands of dollars of cash,



2 Both of the one-kilogram gold bars and nine of the eleven one-ounce gold bars have serial

numbers matching those listed on an inventory, maintained by an employee of Daibes, of gold that
was in Daibes’s possession years before the charged offenses. Both of the remaining one-ounce
bars are, by their type and packaging (and as to one bar, by its serial number), from a set of 22
one-ounce bars that Hana purchased the day after a meeting between Menendez and Egyptian
Official-5.
3 It is unclear whether Menendez is seeking preclusion of any of the gold bars. As explained above,

all of the gold bars are linked to Daibes or Hana.

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including approximately ten envelopes of cash, with tens of thousands of dollars, bearing the

fingerprints and/or DNA of DAIBES.”).) 4

       Second, that DNA or fingerprints of Daibes, Hana, or another co-conspirator were not

recovered from other envelopes of cash seized does not establish that those individuals did not

handle that cash, but merely that such forensic evidence was not recovered—a point that the

Government’s noticed expert witnesses are expected to explain.

       Moreover, the cash on which relevant fingerprints or DNA have not been identified—that

is, the cash Menendez appears to seek to preclude—bears a number of indicia linking it to the

scheme. As an initial matter, the fact that the cash forensically linked to Daibes amounted to a

substantial proportion of a larger sum of cash stashed in various locations about the house strongly

supports the inference that all of the cash is related. But not only was the remaining cash also

stashed throughout the house, it was largely packaged and stored in a strikingly similar way to the

cash that has been forensically linked to Daibes. For example, a number of the envelopes of cash

bearing Daibes’s fingerprints were found in a safe in a closet, which also contained a number of

other envelopes of cash. Similarly, one of the envelopes of cash bearing Daibes’s fingerprints was

found in the pocket of a men’s jacket, and that jacket also contained another envelope with cash,

and was hanging near three other men’s jackets, which also contained large sums of cash in their

pockets (in envelopes or in rubber-banded wads).

       Even beyond this strong circumstantial evidence, there are a number of specific indications

that other cash, upon which Daibes’s fingerprints were not found, was also connected to the


4 Some of these envelopes also bear, in addition to Daibes’s fingerprints or DNA, the fingerprints

of Daibes’s associates, such as his driver and one of his employees who went on to work for Hana’s
company IS EG Halal.

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scheme. One envelope bore the fingerprints of one of Hana’s associates. And some of the other

seized cash not bearing Daibes’s fingerprints was packaged with money bands indicating it had

been withdrawn, at least $10,000 at a time, from a bank at which Menendez and Nadine Menendez

had no known depository account—indicating that the money had been provided to them by

another person.

        It is thus not impermissibly “speculative” (see, e.g., Dkt. 290 at 3) to ask the jury to infer

that at least certain of the seized items that Menendez seeks to prevent the jury from knowing about

were part of the charged scheme. Rather, it is a reasonable—indeed, well-supported—inference.

To be sure, Menendez can disagree as to whether that inference should be drawn, but it is well

within the province of the jury to decide for itself whether to do so or not to do so. See, e.g., United

States v. Strauss, 999 F.2d 692, 696 (2d Cir. 1993) (“a conviction may be based on circumstantial

evidence and inferences based upon the evidence”); United States v. Abelis, 146 F.3d 73, 80 (2d

Cir. 1998) (the “government need not disprove every possible hypothesis of innocence” and that

“the jury may properly base its verdict upon inferences from circumstantial evidence” (internal

quotation marks omitted)).

        In short, Menendez’s argument concerning the lack of forensic or other direct evidence on

some of the seized evidence goes to its weight, not its admissibility. That a defendant hopes the

jury will accept his view of the evidence over the Government’s view of the evidence is not a basis

to prevent the jury from considering the evidence for itself. See, e.g., United States v. Burden, 600

F.3d 204, 214 (2d Cir. 2010) (“any lack of corroboration is irrelevant because that speaks to the

weight and not the sufficiency of the evidence”); Schultz, 333 F.3d at 416 (“Nonconclusive

evidence should still be admitted if it makes a proposition more probable than not; factors which



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make evidence less than conclusive affect only weight, not admissibility.” (internal quotation

marks and citation omitted)); Mundy, 539 F.3d at 157 (“what conclusions should, or should not,

be drawn from” evidence is for the jury); cf., e.g., United States v. Badalamenti, No. 84 Cr. 236

(PNL), 1985 WL 3539, at *1 (S.D.N.Y. Nov. 1, 1985) (Leval, J.) (rejecting motion to preclude

evidence of conversations on the ground that the Government’s interpretation was allegedly “false

and deceptive”; explaining that “[w]hether the Government’s suggested inferences or the

defendant’s are correct as to the significance of the conversations, is a question for the jury”).

        Contrary to Menendez’s apparent suggestion, it is not the law, for very good reason, that

evidence of cash is only admissible when there is essentially incontrovertible proof that the cash

was proceeds of a crime. Such a proposition is inconsistent with the foregoing case law and the

plain language of Rule 402. It is also inconsistent with the settled principle that jurors are permitted

to and should use their common sense. See, e.g., United States v. Huezo, 546 F.3d 174, 182 (2d

Cir. 2008) (“[J]urors are entitled, and routinely encouraged, to rely on their common sense and

experience in drawing inferences.”). That principle would have no application if evidence were

only admissible when the proof of guilt is incontrovertible. Put simply, jurors certainly can—if

they choose—infer that when things of value are recovered from one bribery co-conspirator’s

home that are similar in kind, packaging, and/or location to other things of value recovered from

the same home that had another co-conspirator’s fingerprints on them, all those things of value

were linked to the scheme. See, e.g., United States v. Florez, 447 F.3d 145, 155 (2d Cir. 2006)

(“[T]he task of choosing among permissible competing inferences is for the jury, not a reviewing

court.”); cf., e.g., United States v. Johnson, 469 F. Supp. 3d 193, 210 (S.D.N.Y. 2019) (denying

motion in limine seeking to exclude photographs of the defendant with large amounts of cash;



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“[The defendant’s] unsupported assertion that he has been lawfully employed, and has obtained

judgments in civil suits, is not ‘affirmative evidence’ that the cash he is shown with was derived

from a legitimate source.”).

       The cases cited by Menendez (Dkt. 290 at 4) are not to the contrary. He principally relies

on United States v. Avila, No. 22-933, 2024 WL 413408 (2d Cir. Feb. 5, 2024), a summary order

in a case in which the defendant posted photographs of cash with a caption that referenced drugs.

In affirming conviction, and rejecting the defendant’s argument that the photographs should have

been precluded, the Second Circuit described the photographs’ captions as “bolster[ing] their

probative value,” which the district court had described as “self-evident.” Id. at *1, 2 (emphasis

added). That statement in no way suggests that a caption or similar corroboration was necessary.

In any event, to the extent that Avila could be read to stand for the proposition that cash, by itself

and without more, is insufficiently probative to be admissible—which is a strained reading of the

decision—there is a lot more here, as described above.

       In United States v. Cepeda, also cited by Menendez (Dkt. 290 at 4-5), the Second Circuit

overturned a narcotics conspiracy conviction that had been supported by evidence of drug

paraphernalia, a small quantity of drugs consistent with personal use, and $1,151 in cash, but no

evidence of any agreement with another person. 768 F.2d 1515, 1515-17 (2d Cir. 1985). The

court also distinguished cases cited by the government regarding unexplained wealth because

“[w]e do not think $1,151, even in an apartment at West 93rd Street, [is] indicative of very much,”

and the defendant had explained the money was from her job at a beauty shop and gambling

winnings. Id. at 1518. Here, by comparison, the cash found in Menendez’s house vastly exceeds




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the modest sum (even in 1985) of $1,151, and some of it bears the fingerprints and/or DNA of the

very individuals who are charged with bribing him.

       The remainder of the cases that Menendez cites are summary judgment decisions from civil

in rem forfeiture matters. They therefore are of little or no value here, but to the extent they have

any persuasive value, they cut against Menendez. In United States v. $7,877.61 U.S. Currency,

for example, the court denied summary judgment because the defendant had raised an issue of fact

by asserting, through sworn affidavits, that the money at issue was not narcotics proceeds. No. 09-

CV-6306P, 2015 WL 5719811, at *10 (W.D.N.Y. Sept. 30, 2015) (“While the trier of fact may

ultimately conclude that the government’s position concerning the source of the currency is

credible, this Court cannot say at this stage that no reasonable trier of fact could credit [the

claimant’s] assertions.”). And although summary judgment was not appropriate given the factual

dispute, the court found that “[u]nquestionably, the presence of [narcotics paraphernalia] in the

same residence as the currency supports the inference of a connection between the currency and

narcotics trafficking.” Id. at *8. So too here: the presence of gold bars and envelopes of cash

provided by co-conspirators in a bribery scheme supports the inference of a connection between

the other cash and the bribery scheme, particularly given the powerful corroboration described

above. It is up to the trier of fact—here, the jury—to “weigh the strength of the evidence [and]

make credibility determinations.” Id. at *9 (internal quotation marks omitted). And in United

States v. U.S. Currency in Sum of One Hundred Eighty-Five Thousand Dollars ($185,000), 455 F.

Supp. 2d 145, 155 (E.D.N.Y. 2006), the court granted summary judgment where hundreds of

thousands of dollars had been seized on multiple occasions from vehicles in which the defendant

was traveling yet the defendant had claimed only $2,200 in income and invoked his Fifth



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Amendment rights when questioned about the money during a deposition. That the court found

no issue of fact precluding summary judgment in that case says nothing about whether the jury

here should be allowed to consider the evidence of cash found in Menendez’s house.

       There is also nothing unfairly prejudicial or inflammatory about the items Menendez

challenges that “substantially” outweighs their relevance, and Menendez does not appear to argue

to the contrary. Indeed, Menendez acknowledges that at least some of the gold bars and cash-filled

envelopes are relevant and expressly does not seek to preclude them. Admission of more of

substantially the same evidence, particularly given their intertwined and overlapping nature, is not

unfair, much less inflammatory. See, e.g., United States v. Kadir, 718 F.3d 115, 122 (2d Cir. 2013)

(“evidence is unduly prejudicial only when it tends to have some adverse effect upon a defendant

beyond tending to prove the fact or issue that justified its admission into evidence” (internal

quotation marks and alterations omitted) (emphasis in original)); cf. Roldan-Zapata, 916 F.2d at

804 (challenged evidence “did not involve conduct any more sensational or disturbing than the

[shootings] with which [the defendant] was charged.”).

       Nor is there any conceivable risk that the jury will misapprehend the purpose of this

evidence or be unable to weigh whether the Government’s view or another view is correct. On the

contrary, as is apparent from his brief, Menendez is more than capable of arguing to the jury that

no items found in his home came from a bribe payor. For example, Menendez can, if he has an

adequate evidentiary record based on admissible evidence, put forth his suggestions of alleged

weekly $480 cash withdrawals over the past twenty years 5 or Nadine Menendez’s alleged




5 The available bank records for Menendez’s accounts reveal that over the seven-year records

retention period, his rate of cash withdrawals was not this high.

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“family’s wealth” (Dkt. 290 at 5) as the purported innocent explanations for the hundreds of

thousands of dollars of cash and the jury can decide whether to credit those proffered explanations.

That is the proper remedy for what Menendez repeatedly calls “speculation,” not preventing the

jury from weighing competing inferences. Indeed, to the extent that Menendez’s argument in this

respect is (a) purely factual, (b) subject to dispute, and (c) appears to require him to call one or

more witnesses, it would be particularly inappropriate to preclude the evidence on the ground he

offers, because credibility is for the jury. See, e.g., United States v. O’Connor, 650 F.3d 839, 855

(2d Cir. 2011); United States v. Roman, 870 F.2d 65, 71 (2d Cir. 1989).

       Moreover, evidence of money or valuables Menendez and Nadine Menendez had—

whether stored in a bank account or stashed around their home—is relevant to the charged crimes,

even if not all of the cash or valuables can be linked directly to bribe payors, because its existence

is probative of whether Menendez and his wife sought and obtained loans from Jose Uribe or Hana.

The jury is entitled to consider whether, as Menendez appears to suggest, he and his wife had

hundreds of thousands of dollars of preexisting cash and valuables on hand from savings and

family wealth, yet asked for and accept purported loans from Uribe or Hana. (See Indictment ¶¶

69-73.) In short, all of the cash and valuable items found in Menendez’s home, and the other cash

and valuables they had, are highly probative of both the bribery scheme and Menendez’s and

Nadine Menendez’s conspiracy to obstruct and obstruction of justice.

    B. Photographs of Luxury Wristwatches Offered as Bribes to Menendez Are
       Admissible

       Menendez also seeks to prevent the jury from learning that, during the time period of the

charged scheme, Daibes offered at least one high-end wristwatch to Menendez via an encrypted

messaging application by sending Menendez photographs of a computer monitor displaying a


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website showing several luxury watches for sale and asking, “How about one of these.” (Dkt. 290

at 5.) This evidence is plainly admissible as direct evidence of the charged bribery offenses, which

prohibit, among other things, “offer[ing] . . . anything of value to any public official” to influence

an official act, and a public official “demand[ing] [or] seek[ing] . . . anything of value” in return

for being influenced in the performance of an official act. 18 U.S.C. § 201(b)(1) & (2) (emphases

added). The fact that the messaging application does not include an answer from Menendez is of

no import, because the crime has been committed at the point of offer or demand; acceptance or

receipt of the bribe is not required. These messages were a clear offer of a bribe, as they were sent

two days before Daibes sent Menendez a link to a website tracking a resolution supportive of Qatar

that was pending before Menendez as Chairman of the SFRC—i.e., a request for an official act

with respect to that resolution. (Indictment ¶ 58.) The offer also came just days after Menendez

and Daibes attended a private event hosted by the Qatari government (S4 Indictment, ¶ 58), and

the message itself—“how about one of these”—strongly suggests Menendez and Daibes had had

a prior conversation regarding the topic of the watches. Similarly, this offer was several weeks

before Menendez received a one-kilogram gold bar from Daibes following his trip to Qatar,

strongly suggesting that Daibes ultimately paid Menendez not with the wristwatch but with at least

one gold bar. (Indictment ¶¶ 58-59.) Daibes’s attempts to wave away this damning sequence of

events as simply “that it occurred in proximity to certain other events” (Dkt. 290 at 6) is

unconvincing and in any event properly directed to the jury.

       Nor, again, is the evidence unfairly prejudicial, much less so prejudicial that it should be

precluded. Given that Menendez received literal gold bars worth far more than the watch offered




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by Daibes, there is no appreciable risk that the jury is likely to be inflamed by two photographs of

watches. See, e.g., Roldan-Zapata, 916 F.2d at 804. 6

   C. Menendez’s Financial Disclosure Forms Are Admissible

        Menendez argues that evidence and testimony regarding his Senate financial disclosure

forms—which failed to disclose many of the things of value received during the charged conduct

(see Indictment ¶ 67)—should be excluded merely because he is not charged with submitting false

forms. (Dkt. 292 at 3-6.) His attempt to preclude evidence of concealment and consciousness of

guilt is contrary to the rules of evidence and should be rejected.

        Under Menendez’s narrow (and incorrect) reading of Rules 401 and 402, evidence that

Menendez concealed hundreds of thousands of dollars received from co-conspirators seeking to

influence or obtain official acts is irrelevant because he “has not been charged with violating any

disclosure laws” and there “could” be an innocent explanation for the omissions. (Dkt. 292 at 4.)

This argument fails as a matter of both law and logic.

        With respect to the law, “even where alternative inferences are plausible” (and here, they

are not), it remains for the jury “to choose among competing inferences.’” United States v.

Bouloute, 185 F. App’x 102, 105 (2d Cir. 2006) (quoting United States v. Morgan, 385 F.3d 196,

204 (2d Cir. 2004)); see also, e.g., United States v. Coppola, 671 F.3d 220, 239 (2d Cir. 2012)

(“Insofar as Coppola hypothesizes alternative sources for the monies paid, we are mindful that the

task of choosing among permissible competing inferences is for the jury, not a reviewing court.”

(internal quotation marks omitted)); United States v. Cook, 173 F. App’x 896, 898 (2d Cir. 2006)


6 As  the Indictment alleges, the offered watches had prices ranging from $9,990 to $23,990
(Indictment ¶ 58), whereas the price of a kilogram of gold at the time at which Nadine Menendez
liquidated it was over $60,000 (id. ¶ 53.h).

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(it is for the jury to consider, and accept or reject, “alternative interpretations of the evidence”).

       With respect to logic, there is no dispute that Menendez is not charged with a false

statements offense for filing false forms, but he is charged with fraud offenses of which his failure

to disclose these things of value is a direct component of the offense conduct. That is, Menendez

is charged with both conspiring to commit and committing honest services wire fraud, which

require that the Government prove Menendez’s participation in a scheme to defraud that involved

a material misrepresentation, false statement, false pretense, or concealment of fact. See, e.g.,

Sand, Modern Federal Jury Instructions, Inst. 44-4. Menendez’s failure to disclose these things

of value is thus part of the charged offense conduct.

       For this reason, omissions or misstatements on financial disclosure forms are frequently

introduced as evidence in honest services wire fraud cases. See, e.g., United States v. Bruno, 661

F.3d 733, 736-39, 745 (2d Cir. 2011) (evidence sufficient to sustain honest services wire fraud

conviction where payments were disclosed in manner that concealed nature of quid pro quo

arrangement); United States v. Napout, 332 F. Supp. 3d 533, 549 (E.D.N.Y. 2018) (“In the post-

Skilling era, to prove a crime of honest services fraud, the government must prove that a defendant

. . . knowingly made a material misrepresentation or omission to the person or entity to whom the

duty was owed in furtherance of his receipt of the bribe or kickback.”). For example, in United

States v. Percoco, the public official defendant did later disclose publicly that he had received

money from certain entities in a public filing, but did not disclose, of course, that the payments

were made in exchange for official action. See United States v. Percoco, No. 16 Cr. 776 (VEC)

(S.D.N.Y. Feb. 22, 2018) (Dkt. No. 583 at 5051-54). So too, in United States v. Silver, the

defendant disclosed the amount of outside payments in public filings, but not why he was so



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paid. See, e.g., No. 15 Cr. 93 (VEC) (S.D.N.Y. July 27, 2018) (Dkt. 460 at 3). The Government

is unaware of any honest services fraud case in which a defendant was permitted to prevent the

jury from learning one of the ways in which that fraud was committed, and Menendez offers none.

       But even if Menendez were not charged with crimes involving concealment or deceit as

elements, that would still not somehow render irrelevant his omissions of cash, gold, and other

benefits on his financial disclosure forms. To the extent he has an adequate and admissible basis,

Menendez can present his arguments to the jury and it can decide whether the omissions on his

financial disclosure forms are evidence of concealment and consciousness of guilt or, as he appears

to suggest (Dkt. 292 at 4), the result of a mere misunderstanding. But Menendez is not entitled to

prevent the jury from considering this plainly relevant evidence. See, e.g., United States v. Ash,

No. 22-1048-CR, 2022 WL 16955057, at *3 (2d Cir. Nov. 16, 2022) (“[Defendant] contends that

the district court erred in overruling her objections to evidence of valuable benefits she received

for being on the Board and her failure to disclose those benefits on her obligatory financial

disclosure forms. This evidence was admissible as it tended to show motive and consciousness of

guilt.”); United States v. Silver, 184 F. Supp. 3d 33, 44-45 (S.D.N.Y. 2016) (“[A] rational juror

could conclude that [defendant’s] financial forms and disclosures to the press . . . were far from

forthright and thus were evidence of consciousness of guilt.”), vacated and remanded on other

grounds, 864 F.3d 102 (2d Cir. 2017); see also id. at 53 n.10 (“How [defendant] filled out his

financial disclosure forms was not, however, a ‘collateral dispute’ nor mere ‘details.’ . . . [T]he

forms were relevant as circumstantial evidence of [defendant’s] consciousness of guilt.”); United

States v. Mangano, No. 16 Cr. 540 (JMA), 2022 WL 65775, at *43 (E.D.N.Y. Jan. 6, 2022) (in

bribery scheme, where financial disclosure form falsely disclosed certain bribe payments made to



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defendant, via his wife, as her salary, “[defendant’s] submission of this financial disclosure—an

attempt to lull Nassau County and the citizens of Nassau County . . . from discovering

[defendant’s] bribery scheme—was an act in furtherance of that scheme”); United States v.

Sampson, No. 13 Cr. 269 (DLI), 2015 WL 2066073, at *7 (E.D.N.Y. May 4, 2015) (admitting

financial disclosure forms in obstruction of justice case because “Defendant’s failure to report the

Associate Transaction on his Senate Financial Disclosure Forms suggests that Defendant was

using the money for an illicit purpose, i.e. the embezzlements. Therefore, the Senate Financial

Disclosure Forms help to complete the government’s story regarding the embezzlements and the

resulting interference in a federal investigation.”).

       Indeed, the Government is unaware of any decision that has accepted the proposition that

Menendez appears to advance, which conflicts with both uniform case law about the relevance of

disclosures to show consciousness of guilt, and the Second Circuit’s recognition that “evidence of

a corrupt agreement in bribery cases is usually circumstantial, because bribes are seldom

accompanied by written contracts, receipts or public declarations of intentions.” United States v.

Rosen, 716 F.3d 691, 702 (2d Cir. 2013) (affirming denial of Rule 29 motion in honest services

bribery prosecution where circumstantial evidence of quid pro quo included timing of payments

to legislators, importance of official action to payor, and failure to disclose payments). Thus, “[i]n

cases involving public officials, a trier of fact may ‘infer guilt from evidence of benefits received

and subsequent favorable treatment, as well as from behavior indicating consciousness of guilt.’”

Id. (quoting United States v. Bruno, 661 F.3d 733, 744 (2d Cir. 2011)); see also United States v.

Friedman, 854 F.2d 535, 554 (2d Cir. 1988) (jury can infer the existence of an illegal quid pro quo

“from evidence of benefits received and subsequent favorable treatment, as well as from behavior



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indicating consciousness of guilt”).

       Menendez turns the law on its head by claiming that disclosure form evidence “would

create a prejudicial inference that he was hiding certain gifts, loans or assets because he believed

them to be improper or unlawful.” (Dkt. 292 at 4.) That is certainly an inference that the jury may

draw—and it is well-supported—but there is nothing “prejudicial” about it other than the fact that

it tends to incriminate the defendant. Jimenez, 789 F.2d at 171; see also Sampson, 2015 WL

2066073, at *7 (“Very little prejudice will result from the jury knowing that Defendant did not

disclose financial information on his Senate Financial Disclosure Forms as such an omission is not

more egregious than the charged criminal acts.”). Menendez’s reliance on an out-of-circuit district

court decision, in lieu of the ample case law from this district and circuit, is telling. (See Dkt. 292

at 4-5 (citing United States v. Terry, No. 10 Cr. 390, 2011 WL 2149361, at *2 (N.D. Ohio May

31, 2011)).) While Menendez describes Terry’s holding as “excluding evidence of bribery

defendant’s failure to make required disclosures as likely to confuse jury,” the court in fact

precluded a proposed expert who was to testify regarding the Ohio judicial code’s prohibition on

ex parte communications, but recognized that the judicial code could be relevant in other

circumstances “to demonstrate the defendant’s knowledge of the law.” Terry, 2011 WL 2149361,

at *4-5. It noted that although “there are no parallels in the law with respect to ex parte

communications,” “there may be laws that parallel some aspects of the judicial code (i.e., bribery

laws, disclosure laws, conflict laws).” Id. at *4 (emphasis added). That reasoning hardly assists

Menendez.

         And contrary to Menendez’s suggestion that an expert is somehow required for this

evidence (Dkt. 292 at 5-6), the forms generally speak for themselves. Indeed, such forms are



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commonly offered in similar cases without an expert. See, e.g., United States v. Silver, No. 15 Cr.

93 (VEC) (S.D.N.Y. May 8, 2018) (Tr. 1528 et seq.); United States v. Ash, No. 19 Cr. 780 (LAK)

(S.D.N.Y. Dec. 7, 2021) (Tr. 605 et seq.). To be sure, the Government may call a witness who

assists in operating the Senate disclosure regime to authenticate the forms and place them in

context, including to show how Senators are trained on and made aware of the forms. But this is

not expert testimony. Cf., e.g., United States v. Pounds, 364 F. App’x 362, 364 (9th Cir. 2010)

(“[T]he district court did not abuse its discretion when it permitted [the witness] to testify that

someone who lived New Orleans but moved to California eleven months before Hurricane Katrina

would not be eligible for FEMA disaster assistance. This testimony was rationally based on his

perceptions as a FEMA employee, was helpful to determination of a fact in issue (the primary

residence requirement) and was not based on specialized information within the scope of Rule

702.”); United States v. Hill, 643 F.3d 807, 841 (11th Cir. 2011) (rejecting argument that “lender

representatives should not have been allowed to testify about what their institutions would have

done had they known that several representations in various loan applications were falsified”

unless those representatives were qualified as experts).

       In short, as Menendez appears to acknowledge (Dkt. 292 at 5), what principally

distinguishes lay testimony from expert testimony is whether the witness is permitted to give an

opinion. Compare Fed. R. Evid. 602 with Fed. R. Evid. 702. The Government does not intend

task any witness to give an opinion about Menendez’s financial disclosure forms or to opine on

what they mean or do not mean. That will be up to the jury. In any event, even if the limited

anticipated witness testimony were deemed expert testimony—and it is not—that would not entitle

Menendez preclude the testimony, but merely to receive notice, which he effectively will, in any



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event, in the form of 3500 material (with existing such material due one business day from today).

And under no circumstance would it entitle him to the windfall of preclusion of his own financial

disclosure forms.

        Nor, finally, is there any basis to preclude this evidence under Rule 403.                 It is

straightforward, non-sensational, and directly and highly probative of Menendez’s consciousness

of guilt and an element of multiple honest services wire fraud counts. Menendez’s hyperbolic and

undeveloped claim that he purportedly “would need to call numerous witnesses” (Dkt. 292 at 5)

to respond to this evidence is not a basis for preclusion.

    D. Hana’s Lack of Registration Under the Foreign Agents Registration Act Is
       Admissible

        As he did in his surplusage motion (Dkt. 143 at 59-61), which the Court orally denied

yesterday, Hana seeks to preclude evidence that he did not register under the Foreign Agents

Registration Act (“FARA”). (Dkt. 289 at 12-22.) As explained in the Government’s opposition

to the surplusage motion (Dkt. 180 at 175-76), the fact that Hana did not register publicly under

FARA is far from “irrelevant” (Dkt. 298 at 13). On the contrary, Hana’s lack of registration is

evidence of his efforts to conceal his actions on behalf of the Government of Egypt—which went

on for years—and is also important so the jury is not under the misimpression that Hana was a

publicly-registered representative of or advocate for the Government of Egypt with whom

Menendez or others purportedly believed it was appropriate to share sensitive information and

field requests from Egypt. The Government, for example, intends to present evidence of the

actions of certain registered agents of Egypt, and it is crucial that the jury be able to appreciate that

certain interactions that might be regular if they were undertaken with a registered agent are highly

unusual and suspicious to undertake with an unregistered one. Indeed, given that the jury will


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otherwise learn of FARA with respect to the Section 219 count (and the conspiracy to violate

Section 219 count, of which Hana is one of the charged defendants), there is a significant likelihood

that the jury would otherwise have such a misimpression.

         Contrary to Hana’s suggestion (Dkt. 289 at 18-19), the evidence does not require a trial-

within-a-trial on whether Hana was in fact required to register and therefore violated FARA. His

conduct regarding Egypt will certainly be set forth in detail as part of the charged offenses, and

the exceedingly brief testimony that he did not register under FARA will simply show that the

actions he took on behalf of Egypt were not part of any publicly disclosed agency relationship for

Egypt.

         Hana’s lack of FARA registration is also not inflammatory or unfairly prejudicial. Even if

a juror were to believe his lack of registration was wrongful, is far less serious than the allegations

of bribing a U.S. Senator. In any event, an appropriate limiting instruction can allay his concern

that jurors may believe he is charged with a FARA violation or that his failure to register, in and

of itself, proves him guilty of the offenses with which he is charged. See, e.g., Paulino, 445 F.3d

at 223 (“[T]o the extent there was any risk of unfair prejudice, the district court satisfactorily

reduced that possibility with a thorough and carefully worded limiting instruction.”); United States

v. Downing, 297 F.3d 52, 59 (2d Cir. 2002) (noting the presumption that “juries understand and

abide by a district court’s limiting instructions”).

    E. Menendez’s Motion to Preclude Certain Evidence Concerning Business Benefits
       Obtained from Menendez’s Official Acts Is Moot

         Menendez seeks to exclude certain testimony and evidence he deems “speculative”

regarding the reasons for (1) a Qatari company’s investment in a New Jersey real estate project

and (2) the monopoly given by the Government of Egypt to IS EG Halal Certified, Inc. (Dkt. 290


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at 7-9.) As with his other challenges to circumstantial evidence of the charged offenses,

Menendez’s attempt to preclude relevant and admissible evidence by repeatedly using the word

“speculative” should be rejected.

       As to the Qatar-related scheme, Menendez does not appear to contest the allegations in the

Indictment that Menendez introduced Qatari Investment Company-1 to Daibes or the other actions

that followed. Menendez asks only that “[t]he Court . . . preclude the Government from eliciting

testimony from witnesses who lack personal knowledge of the reasons for Qatari Investment

Company-1’s investment.” (Dkt. 290 at 7.) The Government is aware of the Rules of Evidence,

and does not intend to offer such inadmissible testimony. Indeed, the actions taken by Menendez

and Daibes in connection with the real estate project—which involved Menendez making public

statements praising Qatar for Daibes to send to a Qatari investor (and member of the Qatari royal

family) who was considering an investment in Daibes’s project (Indictment ¶¶ 55-57)—are

expected to be shown primarily through text messages and other documentary evidence, not

witness testimony (aside from summary witnesses who present the text messages and similar

evidence).

       Similarly, as to the IS EG Halal scheme, Menendez argues that testimony or evidence

regarding the reasons the company was awarded a monopoly by Egypt should be precluded

“unless such testimony is offered by a witness with personal knowledge of decisions made by the

Government of Egypt.” (Dkt. 290 at 7.) Menendez further argues that such testimony from

“[e]mployees of the United States Department of Agriculture (‘USDA’) or other federal agencies”

would be inadmissible hearsay and should be excluded. Id. Again, the Government does not plan

to offer inadmissible hearsay. Evidence of the monopoly and its role in the charged offenses are



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expected to be introduced through documents (such as text messages between Hana and Egyptian

officials) or knowledgeable witnesses, and the jury may properly be asked to infer from this

evidence the “reason(s) why” the monopoly was granted. See Mundy, 539 F.3d at 157 (“what

conclusions should, or should not, be drawn from” evidence is for the jury); Badalamenti, 1985

WL 3539, at *1; Huezo, 546 F.3d at 182; Florez, 447 F.3d at 155.

   F. Evidence of Certain Fundraisers Is Admissible

       Menendez asks the Court to preclude “evidence of campaign donations—including

campaign donations from current and former co-defendants” because they supposedly have “no

bearing on the bribery schemes charged in the Indictment.” (Dkt. 292 at 1.) He also specifically

seeks to preclude “testimony of a campaign fundraising event that cooperating witness Jose Uribe

hosted for the Senator,” which Menendez claims “had nothing to do with the charged scheme, and

we expect Uribe would not testify otherwise.” (Id.)

       The Government does not intend to offer in its case-in-chief evidence of campaign

donations other than that of certain fundraisers hosted by Uribe and others such as Daibes, which

are highly relevant to the background to and relationships among co-conspirators and intertwined

with their corrupt relationships, even though Menendez is not charged with any quid pro quo

exchange of an official act for a campaign donation. For example, the fundraiser hosted by

Uribe—who was seeking official acts from Menendez—was where Uribe and Menendez first met,

and was hosted by Uribe in order to develop the corrupt relationship with Menendez as part of his

and Hana’s efforts to disrupt the New Jersey Attorney General investigations, even if the corrupt

quid pro quo with Menendez did not crystallize by the time of the fundraiser itself. Testimony

about the fundraiser—such as the motivation behind the fundraiser, who was there, and what they



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spoke about—is therefore integral to the jury’s understanding of the timeline and relationships

among the defendants and others. Indeed, without Uribe being able to explain how he met

Menendez, and how Uribe and Hana sought to cultivate a corrupt relationship with him for their

benefit, Uribe would have to testify in a disjointed and artificial manner, and the jury might—

incorrectly—therefore assume that he was not being forthright. Menendez is not entitled to such

a windfall. Similarly, certain witnesses may testify about a fundraiser for Menendez hosted by

Daibes in fall 2018 as part of the timeline of relevant events and to explain the development of the

relationship between Daibes and Menendez. This too is necessary to tell an integrated,

comprehensible, and accurate story.

       To be clear, the Government does not plan to argue that the funds raised for Menendez

from the fundraisers were, standing alone, illegal bribes or otherwise criminal actions—and it has

no objection to an appropriate limiting instruction—but it is plainly not the case that the fundraisers

“had nothing to do with the charged scheme” (Dkt. 292 at 1) and therefore there is no basis for

excluding such testimony and leaving the jury to wonder how key individuals met and how their

relationship developed. Cf. Williams, 205 F.3d at 33-34 (affirming admission of prior act evidence

involving co-conspirators “to inform the jury of the background of the conspiracy charged, to

complete the story of the crimes charged, and to help explain to the jury how the illegal relationship

between the participants in the crime developed” (internal quotation marks omitted)); United

States v. Pascarella, 84 F.3d 61, 73 (2d Cir. 1996) (other act evidence admissible “to show the

background of a conspiracy or the development of a relationship of trust between the

participants”); Pipola, 83 F.3d at 566 (“One legitimate purpose for presenting evidence of extrinsic

acts is to explain how a criminal relationship developed; this sort of proof furnishes admissible



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background information in a conspiracy case.”).

   G. Evidence Related to Menendez’s Tax Returns Is Admissible

       Menendez seeks to preclude any reference to his tax returns because he claims what he did

or did not report in his filings has no bearing on the charged crimes and is not evidence of

consciousness of guilt. (Dkt. 293 at 8-11.) He is wrong on both counts.

       As an initial matter, although Menendez tries to make the matter appear unbearably

complicated and exceedingly onerous, the expected evidence of Menendez’s tax returns would

likely consist of one witness from the Internal Revenue Service, who would already be testifying

about other matters, authenticating the tax returns and providing brief testimony regarding whether

certain things were or were not disclosed in the returns. Alternatively, were the defendants to

agree, this straightforward evidence could be offered via stipulation.

       As discussed above, concealing ill-gotten gains in financial disclosures is frequently

admitted as evidence of concealment and consciousness of guilt, as discussed above, and this

applies equally to tax returns. See, e.g., United States v. Shah, No. S4 19 Cr. 833 (SHS) (Dkt. 561)

(Tr. 9) (S.D.N.Y. May 25, 2022) (denying defendant’s motion to preclude evidence “that she did

not disclose income to the IRS” at fraud and money laundering trial); United States v. Shea, S2 20

Cr. 412 (AT) (S.D.N.Y. May 6, 2022) (Dkt. 214) (denying defendant’s motion to preclude

evidence of defendant’s failure to report income at fraud and money laundering trial because

“[s]uch evidence tends to show that Defendant knew the funds he received were illegitimate and

that he took pains to conceal them”); United States v. Adelekan, No. 19 Cr. 291 (LAP) (S.D.N.Y.

Oct. 22, 2021) (Dkt. 393 at 488) (denying defense motion to preclude IRS testimony at fraud and

money laundering trial regarding failure to file tax returns and report income because “the



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testimony will be direct evidence of the concealment of the source of the funds”); see also United

States v. Avenatti, No. 19 Cr. 374 (JMF) (S.D.N.Y. Jan. 13, 2022) (Dkt. 238) (Tr. 14) (“[I]f the

proceeds were lawful, legitimate proceeds to which Mr. Avenatti was entitled, they would have

presumably been income and he would have been required to report them to the IRS. The fact that

he did not do so tends to rebut any claim that they were lawful and legitimate.”). And it is

particularly appropriate when a public official is charged with honest services fraud, as explained

above. In short, the evidence is highly probative for multiple reasons, directly relevant to multiple

counts, and straightforward.

       Finally, particularly in the context of this case, which involves bribery and extortion

schemes, there is no basis to think that evidence that Menendez failed to disclose certain income

would be unfairly prejudicial within the meaning of Rule 403. As in other cases where such

evidence has been admitted, there is nothing salacious or unfair about documentary evidence

regarding a defendant’s disclosure or non-disclosure of income demonstrating his own view of the

proceeds of his crime. See United States v. Valenti, 60 F.3d 941, 946 (2d Cir. 1995) (“Any arguable

prejudice to [the defendant] was de minimis: it strains credulity to think that the jury might have

believed [the defendant] innocent of transporting stolen goods, but voted to convict him anyway

just because he failed to report income on his tax returns.”); see also United States v. Bergstein,

788 F. App’x 742, 745 (2d Cir. 2019) (“The government properly introduced [the defendant’s] tax

returns to show that even though [he] maintained that his income was legitimate, shell companies

under his control did not report or pay taxes on [the] income.”); United States v. Osarenkhoe, 439

F. App’x 66, 68 (2d Cir. 2011) (approving admission of tax return evidence under Rule 404(b)).

Moreover, as with certain other categories of evidence described above, the Government has no



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objection to an appropriate limiting instruction, should the defendant request one.

 II.    The Defendants’ Motions to Preclude Evidence of Their Financial Circumstances and
        Financial Consumption Patterns Should Be Rejected

        Menendez, Nadine Menendez, and Hana all seek to preclude evidence of their financial

circumstances (Dkt. 284 at 2-4; Dkt. 289 at 5-12; Dkt. 293 at 5-8), but this evidence is relevant as

direct evidence, as evidence of their motive and intent, and inextricably intertwined with evidence

regarding the charged offenses.

        To the extent expensive items were offered or given to Menendez or Nadine Menendez by

individuals seeking to influence official acts, those items are plainly evidence of the charged

crimes. (See, e.g., Indictment ¶¶ 43 (luxury car), 53(a) (recliner), 58 (luxury watch).) Similarly,

evidence of high-end meals with co-conspirators is intertwined with evidence of the relationships

between the parties, the official acts being promised, and the bribes given in return. (See, e.g.,

Indictment ¶ 44(e) (dinner with champagne during time when Uribe was seeking intervention in

New Jersey prosecution).)

        Other types of financial evidence are also relevant to the crimes charged. Menendez’s and

Nadine Menendez’s income (and Nadine Menendez’s limited work history and lack of

employment when the scheme began), for example, put in context the $60,000 luxury vehicle, as

well as various home improvements, she wanted, and provide a motive for engaging in the quid

pro quo transactions. Similarly, the Government expects to present evidence regarding Nadine

Menendez’s desire for and receipt of a luxury handbag from Daibes. Her desire for luxury

automobiles or accessories, made known to those charged with bribing Menendez through her, is

thus highly relevant evidence of her and Menendez’s motives to commit the charged offenses.

See, e.g., United States v. Shah, No. S4 19 Cr. 833 (SHS) (S.D.N.Y. May 25, 2022) (Dkt. 561)


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(Tr. 43) (granting government’s motion to admit evidence of defendant’s spending on luxury items

and explaining that, “[i]f the government has evidence that she is living above her means and

therefore there is a motive here to engage in fraud, that’s very traditional [under] United States v.

Daddario, 662 F. App’x 61, 63 (2d Cir. 2016) and many other cases”).

       Similarly, the fact that Nadine Menendez’s residential mortgage was in arrears and her

residence was subject to at least potential foreclosure provides another compelling motive for her

and Menendez to agree to monetize Menendez’s official position. 7 See, e.g., United States v. Li,

133 F.3d 908, 1997 WL 76149, at *1 (2d Cir. 1997) (“evidence of [defendant’s] debt . . . was

properly admissible as evidence of motive”); United States v. Reed, 639 F.2d 896, 907 (2d Cir.

1981) (“[A] defendant’s belief that he is in financial difficulty is admissible to show motive, and

not unduly prejudicial.”); United States v. Hernandez, 588 F.2d 346, 349 (2d Cir. 1978) (“[the

Second Circuit] has long recognized the admissibility of [financial condition evidence] to establish

motive in money-related offenses”); United States v. Shyne, No. S4 05 Cr. 1067 (KMK), 2007 WL

1075035, at *34 (S.D.N.Y. Apr. 5, 2007) (“Details of a defendant’s financial history are often

relevant to the motive of a defendant to commit a crime, especially if that crime involves pecuniary

gain.”); cf. United States v. Chalhoub, 946 F.3d 897, 909 (6th Cir. 2020) (“Evidence about the

correlation between Chalhoub’s income and expenditures is probative, given that it helps establish

Chalhoub’s motive for performing [medical] procedures that may not have been necessary.”). In


7 For this reason, the cases that Nadine Menendez complains relate only to indebtedness are readily

applicable here. (See Dkt. 284 at 3-4 (the cases “involve easily distinguishable evidence of a
defendant’s indebtedness admitted as evidence of motive to commit a crime of enrichment”
(emphasis in original).) Nadine Menendez was behind on her mortgage and yet also wanted a
luxury vehicle, and her inability to afford such things provides her and Menendez with motives to
help sell Menendez’s influence so others would help pay for the things she could not otherwise
afford.

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any event, that the residence’s mortgage was in arrears is part of the story of the bribery scheme,

because certain of the bribes was to pay the mortgage. (See Indictment ¶ 32.) Nadine Menendez

is not entitled to prevent the jury from being presented with a cohesive story about bribes

themselves.

       As to Hana, the Government expects to introduce evidence of his striking change in

fortunes—from someone whose house was foreclosed to someone making millions of dollars

thanks to the monopoly granted to his company by the Government of Egypt. This financial

turnaround is proof not just of motive but also that his sudden success was attributable not to any

track record of business acumen but rather to the boon handed to him by the Egyptian officials for

whom he arranged and sought to arrange official acts from Menendez—and thus also proof that it

was in Menendez’s and Nadine Menendez’s interest that Hana continue to enjoy a lucrative

monopoly because he otherwise would not be in a position to provide valuable goods to them.

Again, these facts are part of the story of the charged offenses.

       The defendants suggest that this type of evidence risks appealing to class prejudice or

improperly introducing character evidence. (Dkt. 284 at 3; Dkt. 289 at 6; Dkt. 293 at 8.) But the

Government has no intention of arguing that the defendants were wealthy and therefore the jury

should distrust or dislike them (and indeed, Menendez and Nadine Menendez were not wealthy).

Nor does the Government intend to offer evidence of a taste for more expensive goods devoid of

a connection to the very persons and actions at issue in this case. Rather, as described above, the

Government intends to demonstrate the defendants’ motive for engaging in the charged offenses

and that their increasing wealth or possession of certain expensive goods was a result of or

intertwined with the charged offenses—often provided to them by the very persons who bribed



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them. To preclude this evidence would be to preclude part of the story of the charged crimes

themselves.

       For this reason, the cases cited by the defendants are readily distinguishable. For example,

unlike in United States v. Hatfield, 685 F. Supp. 2d 320, 326 (E.D.N.Y. 2010) (cited by Hana, see

Dkt. 289 at 6), it is relevant here “how [the defendants] acquired the money” they used to fund

their lifestyles—i.e., through bribery or a monopoly granted by a foreign government benefiting

from Menendez’s official actions. And, unlike in Hatfield, it is not “entirely speculative whether

[the defendant’s] funding for his ‘lavish’ personal spending came from the alleged scheme or from

his sizable pre-existing fortune.” Id. Rather, the evidence of Hana’s previous financial difficulties

shows that he did not have a “pre-existing fortune” and that his revenue from the scheme involving

the halal monopoly is what allowed him to lavish gifts on Menendez and Nadine Menendez.

       Just as inapposite is United States v. Cassese (cited by Menendez, see Dkt. 293 at 8), in

which evidence of wealth was introduced in support of a particular motive theory—that the

defendant had committed securities fraud because he was angry about a failed deal—that the court

found to be “inappropriately submitted” and “unsupported by the evidence” as it was based on the

testimony of a single witness who was not even sure what, if anything, the defendant was upset

about. 290 F. Supp. 2d 443, 457 (S.D.N.Y. 2003) (granting Rule 29 motion in part because

unsupported motive theory “resulted in the introduction of irrelevant and highly prejudicial

evidence regarding Cassese’s wealth”), aff’d, 428 F.3d 92 (2d Cir. 2005). Here, the motive theory

is supported by the evidence, such as text messages showing that Nadine Menendez wanted others

who were simultaneously seeking access to Menendez to pay for her and Menendez’s luxury

vehicle or home furnishings.



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         Finally, as with the defendants’ other arguments, a limiting instruction can address any

potential concerns of unfair prejudice. See United States v. Quattrone, 441 F.3d 153, 187 (2d

Cir. 2006).

III.     Menendez’s and Nadine Menendez’s Motions to Preclude Evidence Regarding Use of
         Her Consulting Company to Collect Payments for Menendez’s Influence on Business
         Matters Should Be Denied

         The Government may, depending on the progress of trial and the arguments raised by the

defendants, offer limited evidence in its case-in-chief of payments made by a laboratory company

(the “Laboratory Company”) to Nadine Menendez’s purported consulting company, Strategic

International Business Consultants, and of actions (or lack thereof) taken by Nadine Menendez

and Menendez on the Laboratory Company’s behalf. This evidence would be offered both as

direct evidence and, in the alternative, pursuant to Rule 404(b) as proof of the defendants’ motive,

intent, common scheme or plan, absence of mistake, and lack of accident. Menendez’s and Nadine

Menendez’s motions to preclude this evidence (Dkt. 293 at 11-14; Dkt. 284 at 4-6) should be

denied.

       A. Factual Background

         As this Court previously stated, the CEO of the Laboratory Company (the “Laboratory

Company CEO”) was among the “alleged beneficiaries of the bribery scheme.” United States v.

Menendez, S2 23 Cr. 490 (SHS), 2024 WL 912210, at *7 (S.D.N.Y. Mar. 4, 2024). Beginning in

or about 2020, a former associate of Hana, who had met Menendez and Nadine Menendez while

working for Hana during the course of the charged offenses, connected Menendez and Nadine

Menendez with the Laboratory Company CEO. The Laboratory Company was a biomedical

testing company that provided COVID-19 testing services. Beginning in late 2020, after meeting

Nadine Menendez based on this introduction, the Laboratory Company CEO paid Nadine

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Menendez in exchange for Menendez’s efforts to pressure and advise various New Jersey city

officials to use the Laboratory Company to perform COVID-19 testing services in their

municipalities, including providing government space and using government resources to

publicize the Laboratory Company’s testing services. From 2021 through April 2022, the

Laboratory Company paid Nadine Menendez, through checks to her company Strategic

International Business Consultants, as well as directly, over $100,000—allegedly for services

Nadine Menendez had provided (such as purported assistance with paperwork). The Laboratory

Company’s payments to Strategic International Business Consultants, along with the bribe checks

from IS EG Halal referenced in the Indictment (Indictment ¶¶ 33-34), and payments derived from

a relationship with another company that was also seeking business from New Jersey municipal

officials, made up the only significant inflows of funds into the bank account of Strategic

International Business Consultants during the relevant time period.

   B. Discussion

       The foregoing evidence is relevant and admissible for multiple reasons.

       First, at least some evidence regarding the Laboratory Company likely will be inextricably

intertwined with evidence regarding the charged offenses, depending on how the Government

responds to the arguments the defendants choose to emphasize at trial. See, e.g., United States v.

Carboni, 204 F.3d 39, 44 (2d Cir. 2000). For example, the relationship between the Menendezes

and the Laboratory Company was a direct outgrowth of the charged bribe scheme involving Hana,

beginning when Hana first directed his associate to perform home improvement services for

Nadine Menendez.8 Similarly, depending on the arguments raised by the defendants at trial—such


8 Hana first directed his associate to do so on the day that Menendez first called Official-2.



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as if the defense claims that Nadine Menendez’s consulting company was a legitimate company

performing actual consulting work—the inflows from the Laboratory Company into the Strategic

International Business Consultants bank account may be needed to tell the full story of the

purported consulting company and explain its nature and the purposes for which the Menendezes

used it.

           Second, even if not direct evidence, the evidence is admissible to show, among other things,

motive and intent, common scheme or plan, and absence of mistake or accident with respect to

Menendez’s and Nadine’s Menendez’s actions as charged.                 See Fed. R. Evid. 404(b)(2).

Specifically:

              •   Evidence of Menendez’s attempted influence of municipal leaders to obtain

                  business for the Laboratory Company—which then paid Nadine Menendez—is

                  admissible to prove Menendez and Nadine Menendez’s motive and intent with

                  respect to the charged offenses. As with the charged offenses, Menendez used his

                  official position to further his personal financial interest through payments to

                  Nadine Menendez, and Nadine Menendez correspondingly demonstrated her intent

                  to monetize her relationship with Menendez.

              •   The evidence is admissible to show Menendez’s and Nadine Menendez’s common

                  scheme or plan, both in how Menendez collected things of value through Nadine

                  Menendez and in how Nadine Menendez’s consulting company operated. Just as

                  in the charged offenses, Menendez pressured other government officials to benefit

                  persons who were paying Nadine Menendez. And just as in the charged offenses,

                  he did so in exchange for purported consulting payments paid to the same



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               consulting company—a consulting company that he helped her set up during the

               course of the charged offenses. Indeed, the very business purpose of the consulting

               company was to collect such illicit payments; rather than receiving compensation

               for any substantial consulting or other work that Nadine Menendez was performing,

               the business of Strategic International Business Consultants was to receive

               payments that were made in exchange for Menendez’s official acts. Proving this

               common scheme of plan, using not only common means and methods but the same

               purported consulting company, is a classic and permissible Rule 404(b) purpose.

           •   Finally, the evidence demonstrates absence of mistake or accident. Menendez and

               Nadine Menendez carried on this strikingly similar course of conduct, in using

               Nadine Menendez’s consulting business to collect substantial payments in

               exchange for little or no legitimate work. Instead, they used the consulting business

               to collect funds in exchange for Menendez’s attempts to use his official position to

               pressure other officials. This is fatal to any suggestion that the conduct in the

               charged offenses was undertaken by some sort of mistake or accident, such as

               through Menendez’s ignorance that the persons he was seeking to benefit were

               paying Nadine Menendez, or that Menendez was unaware of certain payments to

               Nadine Menendez’s consulting company.

       Nor is there a sufficient basis to preclude this evidence under Rule 403. The evidence is

straightforward, non-sensational, and highly probative of Menendez’s and Nadine Menendez’s

motive, intent, common scheme or plan, absence of mistake, and lack of accident. There is no risk

that, despite receiving a limiting instruction, this evidence will elicit a separate, heightened



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response from the jury that would prevent the jury’s fair assessment of the evidence. See, e.g.,

Williams, 205 F.3d at 34 (perceiving “no undue prejudice under Rule 403 [where] the evidence

did not involve conduct more serious than the charged crime and the district court gave a proper

limiting instruction”); Roldan-Zapata, 916 F.2d at 804 (evidence not unfairly prejudicial because

it “did not involve conduct any more sensational or disturbing than the crimes with which [the

defendant] was charged”).

       In addition, the proffered evidence would not materially lengthen or complicate the trial.

The Government anticipates that to the extent it presents evidence regarding the Laboratory

Company, that evidence would consist principally of a moderate number of electronic

communications and a small number of phone records and financial records, likely introduced

through a summary witness; brief fact testimony from a witness the Government already expects

to call on other matters; and, if necessary, brief testimony from another witness primarily to

provide context for the communications and financial transactions.

IV.    The Motion to Exclude Menendez’s Prior Case is Moot

       The parties agree that evidence concerning Menendez’s prior criminal case should

generally not be presented to the jury (see Dkt. 293 at 3-5), so this motion is moot.

       The limited exception raised by the Government in its April 5, 2024 motions in limine is

“if Menendez were to choose to testify, or otherwise opened the door, it might be proper for the

Government to cross-examine him or to introduce appropriately limited evidence concerning

Menendez’s prior federal criminal case.” (Dkt. 291 (Gov’t Mot.) at 10-11.) For example—as

explained in the Government’s Rule 404(b) notice to the defendants—it might be appropriate to

cross-examine Menendez regarding his prior actions, and/or his knowledge of the relevant criminal



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laws, to demonstrate, among other things, absence of mistake or accident. However, given that

both parties agree evidence of the prior case should generally not be introduced at trial, and there

is no need for the Court to rule at this time.

                                         CONCLUSION

       For the foregoing reasons, the defendants’ motions in limine should be denied.

Dated: New York, New York
       April 12, 2024
                                                 Respectfully submitted,

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